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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CITIZEN UNITED,                      )
                                     )
            Plaintiff                )
                                     )  Civil Action No. 22-2019 (RC)
            v.                       )  (ECF)
                                     )
DEP’T OF HOMELAND SECURITY, )
                                     )
            Defendant.               )
____________________________________)

            MOTION TO ENLARGE TIME TO FILE DEFENDANT’S ANSWER
               OR OTHER RESPONSE TO PLAINTIFF’S COMPLAINT

       Pursuant to the Federal Rules of Civil Procedure (“Rule”) 6(b)(1)(A), the Department of

Homeland Security (“Defendant” or “DHS”), by and through undersigned counsel, respectfully

requests an enlargement of time until September 27, 2022, to file Defendant’s Answer or other

Response to the Complaint filed by Citizens United (“Plaintiff”). In support hereof, Defendant

respectfully proffers the following good cause:

       1.      Plaintiff commenced this action under the Freedom of Information Act, 5 U.S.C.

§ 552, et seq. (“FOIA”), seeking “[a]ll emails . . . regarding a Disinformation Governance

Board” between senior DHS officials on one hand, and those senior DHS officials and the White

House and Members and employees of Congress on the other. See generally ECF No. 1.

Plaintiff further alleges that it has not received a response to this request. Id.

       2.      Defendant’s response to Plaintiff’s Complaint is due tomorrow and this is

Defendant’s first request for an enlargement of time. The undersigned is constrained to make

this request due to press of other deadlines that preexisted this one that also precluded the


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undersigned from conferring more meaningfully with Agency Counsel. The undersigned had

innumerable other filing and discovery deadlines that existed before this case was assigned to

him.

       3.      The undersigned did have some cursory discussions with Agency Counsel, but

needs the additional time to confer more meaningly regarding the Agency’s position in this

litigation and to prepare an appropriate response. The undersigned do not seek this enlargement

lightly or to unduly delay a timely adjudication of this action.

       4.      Pursuant to LCvR 7(m), the undersigned conferred with Opposing Counsel who

graciously consented to this request.

       Wherefore, Defendant respectfully requests that the Court grant this enlargement of time

to file an Answer or other response to Plaintiff’s Complaint. A proposed Order reflecting the

requested relief is attached for the Court’s consideration, but a Minute Order would be just a

welcome if the Court prefers.

August 25, 2022                               Respectfully submitted,

                                              MATTHEW M. GRAVES, D.C. Bar #481052
                                              United States Attorney

                                              BRIAN P. HUDAK
                                              Acting Civil Chief

                                              By:       /s/
                                              KENNETH ADEBONOJO
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              District of Columbia (Civil Division)
                                              601 D Street, N.W.
                                              Washington, D.C. 20530
                                              Telephone: (202) 252-2562



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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
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CITIZEN UNITED,                      )
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            Plaintiff                )
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            v.                       )  (ECF)
                                     )
DEP’T OF HOMELAND SECURITY, )
                                     )
            Defendant.               )
____________________________________)

                                            ORDER

       After considering this motion, the record herein, and applicable law,

       it is this ____ day of ________________, 202_, hereby

       ORDERED, that the Defendant’s motion is hereby GRANTED; and it is

       FURTHER ORDERED, that the Defendant’s Answer or other response is due no later

than September 27, 2022.



                                                    HON. RUDOLPH CONTRERAS
                                                    UNITED STATES DISTRICT JUDGE




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